  Case 4:16-cv-04091-LLP Document 20 Filed 02/06/17 Page 1 of 1 PageID #: 76



                             UNITED STATES DISTRICT COURT                         FILED
                                DISTRICT OF SOUTH DAKOTA                          FEB 0 6 2017
                                     SOUTHERN DIVISION



                                              *


VELDER O. WILLIAMS,                           *       CIV 16-4091
                                              *


               Plaintiff,                     *
                                              *


        vs.                                   *       JUDGMENT OF DISMISSAL
                                              *


RESTAURANTS,INC.,
c/b/a HuHot Mongolian Grill,

               Defendant.                     *
                                              *

******************************************************************************


        Based upon the Joint Stipulation of Dismissal, Doc. 19, it is hereby,
        ORDERED, ADJUDGED AND DECREED that the Plaintiffs Complaint and causes of
action are hereby dismissed on the merits, with prejudice, each party to bear his or its own costs and
fees.

        Dated this 6th day of February, 2017.

                                               BY THE COURT:




                                               Lawrence L. Piersol
ATTEST:                                        United States District Judge
JOSEPH HAAS,CLERK

BY:
               Denu
